 Case: 4:18-cr-00739-AGF Doc. #: 703 Filed: 01/04/22 Page: 1 of 1 PageID #: 2966



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

 UNITED STATES OF AMERICA,                  )
                                            )
             Plaintiff,                     )
                                            )
       vs.                                  )          Case No. 4:18-cr-00739-AGF
                                            )
 DOUG KELSAY,                               )
                                            )
             Defendant.                     )

                                        ORDER

      The Court has received Defendant Doug Kelsay’s Reply (Doc. No. 700) to the

Government’s Response to Defendant’s Motion for Sentence Reduction. The Court did not

receive the Reply, which was post-marked December 29, 2021, until after the Court issued

its Memorandum and Order (Doc. No. 698) dated December 28, 2021, denying the

requested reduction. However, the Court has carefully reviewed the Reply, and nothing in

the Reply causes the Court to change its December 28, 2021 Memorandum and Order,

which the Court hereby reaffirms.




                                        AUDREY G. FLEISSIG
                                        UNITED STATES DISTRICT JUDGE

Dated this 4th day of January, 2022.
